    Case 4:21-cv-00033-ALM Document 4-17 Filed 02/09/21 Page 1 of 1 PageID #: 389


AO 399 (01/09) Waiver of the Service of Summons




                                      United States District Court
                                                                       for the
                                                          Eastern District of Texas


                       Timothy Jackson
                                                                           )
                             Plaintiff
                                                                           )
                                 v.                                        )     Civil Action No. 4:21 -cv-00033
                      Laura Wright, et al.                                 )
                            Defendant                                      )

                                            WAIVER OF THE SERVICE OF SUMMONS


To: Jonathan F. Mitchell
             (Name of the plaintiffs attorney or unrepresentedplaintiff)


          I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

          I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                   01/14/2021                 , die date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


Date;     January 21, 2021                                                       Matthew Bohuslav Digitally signed by Matthew Bohuslav
                                                                                                  Date: 2021.02.05 14:53:55 -06'00'

                                                                                            Signature ofthe attorney or unrepresentedparty


6tlluxr\ Rf\W.rH>or\                                                                                   Matthew Bohuslav
        Printed name ofparty waiving service ofsummons                                                        Printed name
                                                                                           Office of the Attorney General
                                                                                           P.O. Box 12548, Capitol Station
                                                                                           Austin, TX 78711
                                                                                                                Address

                                                                                          matthew.bohuslav@oag.texas.gov

                                                                                                             E-mail address

                                                                                                          512.475.4099
                                                                                                           Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


                                         Save As...                                                                                    Ri
